                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF OREGON

In re                                           )
                                                )           16-33185-pcm7
                                                    Case No._______________
Peter Szanto                                    )
                                                )   CHAPTER 7 TRUSTEE’S
                                                )   INTERIM REPORT
                                                )   NUMBER _______
                                                               5
Debtor(s)                                       )

      The trustee, ____________________________________,
                   Candace Amborn                        reports upon the financial condition of the estate and
progress of its administration as follows:
                                                      Amounts Since                  Total From Date Case
   Estate Monies                                         Last Report                  Began Under Ch. 7
1. Receipts                                                                0.00
                                                            $__________________             $                891,919.93
    Disbursements                                           $__________________
                                                                       27,530.05            $                234,251.34
    BALANCE ON HAND                                                                         $                657,668.59

2. The following estate property has not yet been liquidated:

    Recover estate property that was transferred by the debtor to HSBC Singapore and Australia or as further
    transferred to other entities and/or third parties.

3. The trustee proposes to take the following action to liquidate the property mentioned in paragraph 2 (Do not include
   payments owing by the debtor(s), but not yet due):
   Pursue turnover of funds that the debtor transferred to other financial accounts.


4. The trustee expects to complete liquidation of the assets and file a final account (Give expected date or estimated
   period of time):
   March 2022

                                       290,706.54
5. The trustee believes the sum of $______________      could be disbursed for interim compensation and administrative
   expenses at this time without jeopardizing the viability of the estate.

6. The trustee expects to make a distribution to creditors (Give expected date or estimated period of time, or if stating
   "NONE" then also state reasons why not):

    March 2022 or after resolution of the pending litigation, whichever occurs first

7. The Court has appointed the following professionals to perform duties in this case (Provide names and types of duties
   only if the persons have not received final compensation):
   Gary L. Blacklidge of Jordan Ramis PC, Attorney                   David W. Criswell, Attorney
   Rajah & Tann Singapore LLP, Attorney
   Bennington & Moshofshy PC, Accountant
                                                                 650.00
8. The trustee is currently obligated to pay a maximum of $_______________      for administrative expenses owed to non-
   professionals. [If case converted from Chapter 11 to 7] The maximum amount of all timely filed claims for Chapter
   11 administrative expenses is $_______________.
                                           650.00

9. Additional comments:

    Prior Trustee's Interim Report Numbers are Docs. 516, 596, 689, and 923.


            3/5/21
    DATE:__________
                                                                                    /s/ Candace Amborn
                                                                           ___________________________________
753 (12/12/88)                                                                            Trustee
                                Case 16-33185-pcm7         Doc 1103     Filed 03/05/21
